       Case 1:20-cv-03010-APM       Document 1289-3       Filed 05/09/25    Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




  UNITED STATES OF AMERICA, et al.,

                                 Plaintiffs,
  v.                                               Case No. 1:20-cv-03010-APM

  GOOGLE LLC,                                      HON. AMIT P. MEHTA

                                Defendant.

  STATE OF COLORADO, et al.,

                                 Plaintiffs,
                                                   Case No. 1:20-cv-03715-APM
  v.
                                                   HON. AMIT P. MEHTA
  GOOGLE LLC,

                                Defendant.



                                   [PROPOSED] ORDER

        Upon consideration of the Motion of the Center for Cybersecurity and Law for Admission

Pro Hac Vice of Matthew D. Field, it is hereby

        ORDERED that the Motion is GRANTED.

        SO ORDERED this _________ day of _________________, 2025.


                                                  ________________________
                                                  Hon. Amit P. Mehta
                                                  United States District Judge
